 Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 1 of 6 PageID #:39552




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

IN RE: ETHIOPIAN AIRLINES                   Lead Case: 1:19-cv-02170 (Consolidated)
FLIGHT ET 302 CRASH
                                            Honorable Jorge L. Alonso

                                            Magistrate Judge Weisman




  BOEING’S SUPPLEMENTAL BRIEF IN SUPPORT OF ITS MOTION IN LIMINE
TO EXCLUDE EVIDENCE PERTAINING TO LIABILITY AND PUNITIVE DAMAGES
 Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 2 of 6 PageID #:39553




       Boeing files this supplemental brief in support of its previously filed motion in limine to

exclude, under Federal Rules of Evidence 402, 403, 702, and 703, any evidence and discussion of

Boeing’s conduct before or after the crash of Flight ET 302 . See ECF 1596.

                                       INTRODUCTION

       In Boeing’s previously filed motion in limine to exclude evidence pertaining to liability

and punitive damages, Boeing argued that evidence of Boeing’s alleged conduct, whether before

or after the crash of ET 302, is inadmissible because it relates to Boeing’s liability for the crash.

Given that Boeing has stipulated to liability in this case, any such evidence is not relevant to the

sole question at issue, which is the proper amount of compensatory damages to be awarded. ECF

1596. Even if it were relevant, such evidence should be excluded because it would be unfairly

prejudicial, confusing for the jury, and wasteful of the Court’s time and resources . Id.

       In support of its motion, which was filed before the anticipated March trials, Boeing

identified examples of liability-related testimony from several case-specific witnesses and experts

that Boeing argued should be excluded. ECF at 4–6.

       The trials scheduled for June involve different witnesses but similar testimony regarding

Boeing’s alleged conduct that relates to liability and/or punitive damages. To assist the Court in

deciding Boeing’s motion in the context of the upcoming trials, Boeing supplements the

background section of its previously filed motion to identify testimony in the June cases

exemplifying the type of evidence that should be excluded for the reasons stated in Boeing’s

motion.

                             SUPPLEMENTAL BACKGROUND

       The decedents’ family members and other witnesses have testified about Boeing’s alleged

conduct in their depositions.

       Wei Xiong, whose wife died in the crash, stated that his grief was increased by his belief

                                                 1
 Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 3 of 6 PageID #:39554




that after the first MAX crash, in Indonesia, Boeing should have taken steps related to better safety

protocols or more pilot training that he thinks might have prevented the crash of ET 302. See Ex.

A (Xiong Dep.) at 79:9–15. Xiong also pointed to his belief that Boeing tried to “unground the

plane” without “thinking about [how] that might … threaten[] … people’s lives” because Boeing

was “just trying to make a profit.” Id. at 81:3–12. And he noted that at congressional hearings, “the

president of … Boeing didn’t even look at all the victim families when he passed by them.” Id. at

13–16.

         Enrica Porcari (Zhenzhen Huang’s supervisor) also testified that the crash was

unacceptably contrary to one’s expectations of a leading airplane manufacturer. Ex. B (Porcari

Rough Dep.) at 27:20–28:15.

         Steven Felch (Brittney Riffel’s father) stated that in his view the ET 302 crash was not an

accident because he believed it could have been prevented. Ex. C (Felch Dep.) at 17:14–16. And

Martin Riffel (Bennett and Melvin’s father) referenced a group focused on the deferred prosecution

agreement, which sought additional criminal charges because they’d “like to see justice in this

case.” Ex. D (M. Riffel Dep.) at 67:8–15.

         Similarly, several of Plaintiffs’ grief experts for the June trial cases testified about Boeing’s

alleged conduct. Ex. E (Velasquez Rep. on Michaela Sonnleitner) at 7, 12–13; Ex. F (Velasquez

Dep.) at 163:18–164:8; 166:17–170:23; Ex. G (Schuurman Rep. of Brittney Riffel) at 9–10; Ex. H

(Schuurman Rep. of Martin & Susan Riffel) at 8, 10–11; Ex. I (Schuurman Rep. of Aurora Cheung)

at 8–9; Ex. J (Reid Rep. of Wei Xiong) at 7; Ex. K (Reid Dep.) at 160:6–162:17. For example,

Mag. Sandra Velasquez Montiel referred to the “dominant narrative surrounding the Boeing 737

Max crash” as one of “greed, gross negligence and a total disregard for the safety and lives of the

passengers and the tragic consequences to follow.” Ex. E at 7. Velasquez also reports that Michaela



                                                    2
 Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 4 of 6 PageID #:39555




Sonnleitner believes her partner’s death “was the result of wrongdoing” and expressed her own

belief that the MAX crashes could have been prevented if laws and regulations were followed. Id.

at 12. Velasquez further noted that a federal judge in Texas declared in 2022 that the families of

the passengers who died in the MAX crashes “are legally regarded ‘crime victims.’” Id.

       Donna Schuurman reported that Brittney Riffel expressed feelings about Boeing’s alleged

conduct, including her belief that her husband was “murdered”; that “[Boeing] valued profit over

human safety”; and that no one at Boeing has been held responsible. Ex. G at 9–10. Schuurman

also alleges that “[n]umerous articles, documentaries, and media coverage have documented the

many ways in which the Boeing company employees withheld information and failed to act to

prevent the crash[es] … resulting in the preventable deaths of 346 people.” Ex. H at 10. And she

states that the “lack of accountability for Boeing, the FAA, and the deferred prosecution agreement

between the Justice Department made without family knowledge or input has heightened the pain

and suffering of Ike and Susan Riffel.” Id. at 11. Schuurman reports that Ms. Cheung harbors

similar feelings and “finds it difficult to talk about Boeing’s role in her husband’s death as doing

so only exacerbates her mental suff ering.” Ex. I at 8–9.

       Jon Reid, for his part, testified that “Boeing urged friends to still fly the plane after the first

crash,” that Boeing’s CEO “had said the planes are safe to fly, and then clearly weren’t,” and that

“if something had been done, then the second crash wouldn’t have happened.” Ex. K at 161:18–

162:2. He also explains that grief is exacerbated “when negligence resulted in the death” because

“then the death was not timely or simply just an accident, but preventable.” Ex. J at 7.

       Because Boeing has admitted to liability in this case, none of this (or similar) testimony

that relates to Boeing’s conduct before or after the crash of Flight ET302 should be admitted.

                                           CONCLUSION

       For the reasons discussed in Boeing’s previously filed motion (ECF 1596), the Court
                                                   3
 Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 5 of 6 PageID #:39556




should exclude evidence pertaining to liability and punitive damages, along with any other

evidence of or reference to Boeing’s alleged conduct before or after the crash of Flight ET 302.

DATED: May 26, 2023                                        THE BOEING COMPANY

                                                   By: /s/ Dan K. Webb
                                                   One of Its Attorneys

                                                   Dan K. Webb
                                                   dwebb@winston.com
                                                   Christopher B. Essig
                                                   cessig@winston.com
                                                   Julia M. Johnson
                                                   jmjohnson@winston.com
                                                   Samuel M. Zuidema
                                                   szuidema@winston.com
                                                   Winston & Strawn LLP
                                                   35 West Wacker Drive
                                                   Chicago, Illinois 60601-9703
                                                   Phone: (312) 558-5600

                                                   Andrew E. Tauber
                                                   atauber@winston.com
                                                   Winston & Strawn LLP
                                                   1901 L St. NW
                                                   Washington, D.C. 20036
                                                   Phone: (202) 282-5000

                                                   Michael Scoville
                                                   MScoville@perkinscoie.com
                                                   Christopher M. Ledford
                                                   CLedford@perkinscoie.com
                                                   Perkins Coie LLP
                                                   1201 Third Avenue, Suite 4900
                                                   Seattle, Washington 98101-3099
                                                   Phone: (206) 359-8000
                                                   Fax: (206) 359-900

                                                   Jon R. Buck
                                                   JBuck@perkinscoie.com
                                                   Perkins Coie LLP
                                                   131 S. Dearborn, Suite 1700
                                                   Chicago, Illinois 60603-5559
                                                   Phone: (312) 324-8400
                                                   Fax: (312) 324-9400


                                               4
Case: 1:19-cv-02170 Document #: 1732 Filed: 05/26/23 Page 6 of 6 PageID #:39557




                               CERTIFICATE OF SERVICE

      I hereby certify that on May 26, 2023, I electronically filed the foregoing with the Clerk of

the Court using the CM/ ECF system, which will send notification of such filing to all attorneys

of record.


                                                           /s/ Dan K. Webb
                                                           WINSTON & STRAWN LLP
                                                           35 West Wacker Drive
                                                           Chicago, Illinois 60601-9703
                                                           Phone: (312) 558-5600
